 

Case 2:21-cv-12284-MAG-KGA ECF No. 12-4, PagelD.135 Filed 12/02/21 Page 1 of 3

EXHIBIT 3

 
Case 2:21-cv-12284-MAG-KGA ECF No. 12-4, PagelD.136 Filed 12/02/21 Page 2 of 3

9/11/21, 5:13 PM Gmail - ATTN ATTORNEY DISCIPLINE BOARD: (P52885) James P. Allen Inappropiate Conduct

Re Gmail Susana Hamad <susanahamad2@gmail.com>

 

ATTN ATTORNEY DISCIPLINE BOARD: (P52885) James P. Allen Inappropiate
Conduct

 

James Allen <JamesAllen@allenbrotherspllc.com> Tue, Aug 24, 2021 at 12:51 PM
To: Susana Hamad <susanahamad2@gmail.com>

We have a thing called Rules of Evidence, Chucky. Your complaint doesn’t exist until a flesh and blood Susana
materializes.’ Since we both know you are Susana and, while re-assignment surgery might be your best option at this
point, you sure don’t look like a Susana. But, whatever floats your boat, if you can even get on a boat just like Kev.
However, if the request for investigation comes, we'll have what we need to subpoena your ISP and verify what we
already know. And, I'll still be able to do all the things you can’t and do them without having to wear a diaper. We all have
First Amendment rights, Chuckie. You can parody me and | can parody you. | ain’t afraid of anyone, but surely not you.
You know why? Because | have stood up to bullies my whole life and I’ve learned that they all wind up the same way in
the end. Chuckie, you have already gotten yours. All that you do now isn’t going to change that. With or without my
license, with or without a job, with or without a single client, | will still be standing over you when the dust settles.

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Case 2:21-cv-12284-MAG-KGA ECF No. 12-4, PagelD.137 Filed 12/02/21 Page 3 of 3

9/16/21, 5:28 PM Gmail - ATTN ATTORNEY DISCIPLINE BOARD: (P52885) James P. Allen Inappropiate Conduct

Re, Gmail Susana Hamad <susanahamad2@gmail.com>

 

ATTN ATTORNEY DISCIPLINE BOARD: (P52885) James P. Allen Inappropiate
Conduct

 

James Allen <JamesAllen@allenbrotherspllc.com> Tue, Aug 24, 2021 at 12:59 PM

To: Susana Hamad <susanahamad2@gmail.com>

We'll see, Kev. If it happens, it will be the first time someone got suspended on a complaint from someone who doesn’t
exist. You'll be going under oath either way after your ISP answers my subpoena. ’ll gladly take the six-month rip and
get the big write up in the bar journal. | need a vacation and I'll be a hero to people—all able to run without a diaper
slowing them down—who really matter.

From: Susana Hamad <susanahamad2@gmail.com>

Sent: Tuesday, August 24, 2021 12:54 PM

To: James Allen <JamesAllen@allenbrotherspllc.com>

Subject: Re: ATTN ATTORNEY DISCIPLINE BOARD: (P52885) James P. Allen Inappropiate Conduct

Law license should be suspended like his

 

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